Case 3:02-cv-00525-KC Document 69 _ Filed 06/30/06 Page1of4

UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF TEXAS
EL PASO DIVISION

US. ex rel. MESHEL, et al. )
)

Plaintiffs, ) CIVIL ACTION NO. EP-02-CA-0525
)
v. )
)
TENET HEALTHCARE CORPORATION )
)
Defendant. )

UNITED STATES’ NOTICE OF SETTLEMENT OF CLAIMS AGAINST
TENET HEALTHCARE CORPORATION

The United States respectfully advises this Court that the United States, on June 29, 2006, entered
into a settlement agreement (“Settlement Agreement”) with Tenet Healthcare Corp. (“Tenet”) and its
hospitals that has resolved a wide range of allegations. Among the topics resolved by the Settlement
Agreement are allegations that Tenet’s claims for outlier payments violated the False Claims Act, which
have been raised by the relators in the instant case.

For the reasons previously stated in Tenet’s filings, as well as the United States’ filings in this
matter, the United States continues to take the position that relators Meshel and Lam are prohibited under
the False Claims Act from pursuing allegations against Tenet involving outlier payments. The United
States nonetheless wished to apprise the Court of the Settlement Agreement, given the fact that its scope
encompassed some of the allegations made by the relators. The Court should note that the Settlement

Agreement expressly excluded the relators’ kickback allegations, so the relators remain free to continue
Case 3:02-cv-00525-KC Document 69 _ Filed 06/30/06 Page 2of4

to pursue them in the event that these allegations withstand Tenet’s motion to dismiss.

Respectfully submitted,

PETER D. KEISLER
Assistant Attorney General

MICHAEL F. HERTZ
MICHAEL D. GRANSTON

Sih 2easifed

(HEL B. IRISH
aE U.S. Department of Justice
Civil Division
Post Office Box 261
Ben Franklin Station
Washington, D.C.
Tel: (202) 307-5928
Fax: (202) 514-0280

JOHNNY SUTTON
UNITED STATES ATTORNEY

MITCHELL L. WEIDENBACH
Assistant United States Attorney
Texas Bar No. 21076600

601 N. W. Loop 410, Suite 600
San Antonio, Texas 78216

Tel: (210) 384-7360

Fax: (210) 384-7312

ATTORNEYS FOR THE
UNITED STATES OF AMERICA

ye
Dated: June 24 , 2006
Case 3:02-cv-00525-KC Document 69

Filed 06/30/06

CERTIFICATE OF SERVICE

pu
PI day of June 2006, on:

Antonio V. Silva
Antonio V. Silva, P.A.
2616 Montana

El Paso, Texas 79903

Attorney for Relator

Joseph L. Hood, Jr.

Scott, Hulse, Marshall, Feuille,
Finger & Thurmond, P.C.

P.O. Box 99123

E] Paso, Texas 79999-9123

Attorney for Defendant

and by Federal Express on:

Philip Michael
Troutman Sanders LLP
405 Lexington Avenue
New York, NY 10174

Mark Nagle

Troutman Sanders LLP

401 Ninth Street, NW

Suite 100

Washington, DC 20004-2134

Attorneys for Relator

Roger Goldman
Latham & Watkins

555 Eleventh St., N.W., Suite 1000

Washington, D.C. 20004

Page 3 of 4

This is to certify that copies of the foregoing United States’ Notice of Settlement of Claims Against

Tenet Healthcare Corporation have been served by Federal Express, next-day delivery and by email, this
Case 3:02-cv-00525-KC Document 69 _ Filed 06/30/06 Page4of4

Katherine A. Lauer

Latham & Watkins

600 West Broadway, Suite 1800
San Diego, CA 92101

Attorneys for Defendant Tenet

Wath leesball,

Mit¢hell L. Weidenbach

